<‘\

§ase%

m m » w m H

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

O7-CV-O4859-VBF-VBK Document 6 Filed 07/30/07 Page 1 of 17 Page |D #:1

 

»'-'@“'%;-,m

 

 

 

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Rebel Distributors )Case No. CV 07-4859-VBF(AGRX)
Corporation, )
)sTANDING caban
Plaintiff,

vi

Mylan Laboratories, Inc.,

)
)
)
)
)
et al., §

Defendants.

 

READ THIS ORDER CAREFULLY. IT CONTROLS THIS CASE AND ADDS TO
THE LOCAL RULES. COUNSEL FOR PLAINTIFF SHALL IMMEDIATELY
SERVE THIS ORDER ON ALL PARTIES, INCLUDING ANY NEW PARTIES TO
THE ACTION. IF THIS CASE WAS REMOVED FROM STATE COURT, THE
DEFENDANT WHO REMOVED THE CASE SHALL SERVE THIS ORDER ON ALL
OTHER PARTIES.

This case has been assigned to the calendar of Judge
Valerie Baker Fairbank.
Both the Court and counsel bear responsibility for the

progress of litigation in federal d?BEEF-;§§EY€AV :e the

       

AUG - 6 2007

4..
/

RRA

 

Case 2 07-cV-O4859-VBF-VBK Document 6 Filed 07/30/07 Page 2 of 17 Page |D #:2

1 just, speedy, and inexpensive determination“ of this case,

2 Fed. R. Civ. P. 1, all counsel are ordered to become familiar
3 with the Federal Rules of Civil Procedure ("Rule **") agd the
4 Local Rules of the Central District of California ("Local

5 Rule __").

6 I'I‘ IS SO ORDERED:

7 1. Service of the Complaint

8 The plaintiff shall promptly serve the complaint in

9 accordance with Rule 4 and file the proofs of service

10 pursuant to Local Rule 5~3.1.

11 2. Presence of Responsible Counsel
12 COunsel thoroughly familiar with the case, responsible

13 for the conduct of the litigation, and who has authority to
14 enter into stipulations and other agreements shall attend any
15 proceeding before this Court, including all scheduling,

16 status and settlement conferences. Lead counsel who will be
17 trying the case must attend the final pretrial conference(s).
18 3. Parties' Planninq Meeting Pursuant to Rule 261£1

19 By no later than 21 days before the scheduling conference
20 and report of the meeting, counsel for all appearing parties
21 and all unrepresented appearing parties, if any, shall meet,
22 in person, and discuss the matters set forth in Fed. R. Civ.
23 P. 26(f)(1) - (4) as well as those items below.

24 By no later than 14 days before the scheduling

25 conference, counsel for all appearing parties and all

26 unrepresented appearing parties, if any, shall file a joint
27 "REPORT OF PARTIES' PLANNING MEETING" which shall (l) be so
28 labeled, (2) state the date of the Scheduling Conference set

 

 

 

Case 2

l\)

\IG\U'!ri>-w

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

O7-CV-O4859-VBF-VBK Document 6 Filed 07/30/07 Page 3 of 17 Page |D #:3

by the Court, and (3) address not only those subjects ig Rule

25(f)(1) ~ (4) but also the following: *2

"i'l
-:°[

The basis for subject matter jurisdiction; ij
Concise statement of the factual and legal basis of
the claims and defenses;

Prospects of the parties exercising their right
under 28 U.S.C. Section 636 to consent to the
designation of a Magistrate Judge to conduct all
proceedings (including trial) and final disposition
pursuant to General Order 194-G. In this regard,
counsel should note that they may select any
Magistrate Judge (i.e. counsel are not limited to
consenting to the Magistrate Judge assigned to this
case) for such purposes, as long as all parties
concur and the selected Magistrate Judge is
available. Counsel should also note that the
Magistrate Judges will issue their own scheduling
orders, and will be able to give the parties a “date

certain" for trial.

COUNSEL SHALL DISCUSS THIS SUBJECT SPECIFICALLY WITH

HIS/HER CLIENT, and the parties' position on the report of

parties' planning meeting SHALL REFLECT THE CONSIDERED AND

INFORMED JU`.DGMENT OF THE PARTIES;

d.

 

Proposed cut~off date by which all discovery shall
be completed. If the parties anticipate calling
expert witnesses, they shall propose a schedule for
compliance with Rule 26(a)(2) and the completion of

any discovery directed at such expert witnesses;

 

Case 2qO7-cv-O4859-VBF-VBK Document 6 Filed 07/30/07 Page 4 of 17 Page |D #:4

1 e. Proposed dates for Final Pre-Trial Conferencerand
li
¢'I

3 f. Major procedural or evidentiary problems, if any;

 

 

4 g. Prospects of settlement and proposed (1) date and
5 (2) procedure for compliance with Local Rule 16-15
6 (formerly Local Rule 16.14 & 23);

7 h. .A realistic estimate of the number of court dates
8 required to present each side's case»in~chief;

9 i. Whether trial is to be by jury or by the court;

10 j. The name of the attorney(s) who will actually try
11 the case on the actual trial date

12 11. Discoverv and Discoverv Cut-off

13 a. Compliance with Rule 26(a): Unless it is likely

14 that the Court would, on motion of a party, order that any or
15 all discovery is premature, counsel should begin actively to
16 conduct discovery before the scheduling conference. At the
17 very least, the parties shall comply fully with the letter

18 and spirit of Rule 26(a) and obtain and produce most of what
19 would otherwise be produced in the early stages of discovery.
20 At the scheduling conference, the Court will impose deadlines
21 for completion of discovery.

22 b. Discovery Motions: Counsel are expected to resolve
23 discovery disputes among themselves in a courteous,

24 reasonable, and professional manner. All discovery matters
25 have been referred to the assigned magistrate judge, who will
26 hear all discovery disputes. (The magistrate judge's

27 initials follow the district judge's initials next to the

28 case number.) All discovery documents must include the words

4

 

 

Case j:O7-cv-O4859-VBF-VBK Document 6 Filed 07/30/07 Page 5 of 17 Page |D #:5

"DISCOVERY MATTER" in the caption to ensure proper routing.
ul
Counsel are directed to contact the magistrate judge's §

»'l
courtroom deputy clerk to schedule matters for hearing.&{

Counsel should not deliver courtesy copies of these documents

anome

to this Court.
In accordance with 28 U.S.C. § 636(b)(1)(A), the Court
will not reverse any order of the magistrate judge, including

one imposing sanctions, unless it has been shown that the

\DGJ--.`|Ch

magistrate judge's order is clearly erroneous or contrary to
10 law.

11 Any party may file and serve a motion for review and

12 reconsideration before this Court. The moving party must

13 file and serve the motion within ten days of service of a

14 written ruling or within ten days of an oral ruling that the
15 magistrate judge states will not be followed by a written

16 ruling. The motion must specify which portions of the ruling
17 are clearly erroneous or contrary to law and support the

18 contention with points and authorities. Counsel shall

19 deliver a conformed copy of the moving papers and responses
20 to the magistrate judge's courtroom deputy clerk at the time
21 of filing.

22 12. Motions - General Reguirements

23 a. Time for Filinq and Hearinq_Motions: Motions shall
24 be filed in accordance with Local Rule 7. This Court hears
25 motions on Mondays, beginning at 1:30 p.m.

26 If Monday is a national holiday, motions will be heard on
27 the next Monday. If the motion date selected is not

28 available, the Court will issue a minute order continuing the

 

 

Case 2

U'IhP-WNl-'\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

O7-CV-O4859-VBF-VBK Document 6 Filed 07/30/07 Page 6 of 17 Page |D #:6

date. Opposition or reply papers due on a holiday mustjbe
filed the preceding Friday ~ not the following Tuesday;§and
must be hand~delivered or faxed to opposing counsel on€that
Friday. Professional courtesy dictates that moving parties
should, whenever possible, avoid filing motions for which
opposition papers will be due the Friday preceding a holiday.
Such a filing is likely to cause a requested continuance to
be granted.

Adherence to the timing requirements is mandatory for
Chambers' preparation of motion matters.

b. Pre-filing Requirement: Counsel must comply with
Local Rule 7¢3, which requires counsel to engage in a
pre~filing conference "to discuss thoroughly . . . the
substance of the contemplated motion and any potential
resolution." Counsel should discuss the issues to a
sufficient degree that if a motion is still necessary, the
briefing may be directed to those substantive issues
requiring resolution by the Court. Counsel should resolve
minor procedural or other non-substantive matters during the
conference.

c. Lenqth and Format of Motion Papers: Memoranda of
points and authorities in support of or in opposition to
motions shall not exceed 25 pages. Replies shall not exceed
12 pages. Only in rare instances and for good cause shown
will the Court grant an application to extend these page
limitations. If documentary evidence in support of or in
opposition to a motion exceeds 50 pages, the evidence must be

in a separately bound and tabbed pleading and include a Table

 

Case2

~`JO\U'l\-P-Wl\)}-‘

m

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

O7-CV-O4859-VBF-VBK Document 6 Filed 07/30/07 Page 7 of 17 Page |D #:7

of Contents. If such evidence exceeds 200 pages, the qurt's
courtesy copy of all evidence shall be placed in a Slad§
D-Ring binder, including a Table of Contents, with eacm;item
of evidence separated by a tab divider on the right side.

All documents contained in the binder must be three hole
punched with the oversized 13/32" hole size, not the standard
9/32" hole size.

Typeface shall comply with Local Rule 11-3.1.1. N.B. if
Times New Roman font is used, the size must be no less than
14; if Courier is used, the size must be no less than 12.

Footnotes shall be in typeface no less than one size
smaller than text size and shall be used sparingly.

Filings that do not conform to the Local Rules and this
Order will not be considered.

d. Citations to Case Law: Citations to case law must
identify not only the case being cited, but the specific page
being referenced.

e. Citations to Other Sources: Statutory references
should identify with specificity the sections and subsections
referenced (e.g., Jurisdiction over this cause of action may
appropriately be found in 47 U S.C. §33, which grants the
district courts jurisdiction over all offenses of the
Submarine Cable Act, whether the infraction occurred within
the territorial waters of the United States or on board a
vessel of the United States outside said waters). Statutory
references that do not specifically indicate the appropriate
section and subsection (e.g., Plaintiffs allege conduct in

violation of the Federal Electronic Communication Privacy

7

 

Case2

bJ'l\)

O`\U`l'l»l>

~..]

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

O7-CV-O4859-VBF-VBK Document 6 Filed 07/30/07 Page 8 of 17 Page |D #:8

Act, 18 U.S.C. §2511, et seq.) are to be avoided. Citations
in

to treatises, manuals, and other materials should simijarly
w|,
include the volume, section, and pages being referenced:

f. Oral Argument: If the Court deems a matter
appropriate for decision without oral argument, the Court
will notify the parties in advance.

g. Calendar Conflicts: Counsel are to inform opposing
counsel and the courtroom deputy clerk as soon as a potential
calendar conflict is discovered. Counsel should attempt to
agree on a proposed date to accommodate the calendar conflict
and the schedules of the counsel and the Court.

h. Telephone Inquiries: Telephone inquiries regarding
the status of a motion, stipulation or proposed order will
receive no response. Counsel may register for Pacer access
to monitor the Court's database. See www.cacd.uscourts.gov >
General Information > Pacer Access. Counsel are referred to
the Court's website at www.cacd.uscourts.gov > Judges'
Procedures and Schedules > Hon. Valerie Baker Fairbank for
further information regarding procedures and preferences.

9. specific Motion Requirements

a. Motions Pursuant to Rule 12: Many motions to
dismiss or to strike can be avoided if the parties confer in
good faith (as required under Local Rule 7-3), especially for
perceived defects in a complaint, answer or counterclaim that
could be corrected by amendment. See Chang v. Chen, 80 F.3d
1293, 1296 (9th Cir. 1996) (where a motion to dismiss is
granted, a district court should provide leave to amend

unless it is clear that the complaint could not be saved by

 

CaSeZ

mU'll-P-wl\.)l-*

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

:O7-cv-O4859-VBF-VBK Document 6 Filed 07/30/07 Page 9 of 17 Page |D #:9

any amendment). Moreover, a party has the right to amend the
n

complaint "once as a matter of course at any time befor§ a
responsive pleading is served." Fed. R. Civ. P, 15(a).y?A
Rule 12(b)(6) motion is not a responsive pleading and
therefore plaintiff might have a right to amend. See St.
Michael's Convalescent Hospital v. California, 643 F.2d 1369,
1374 (9th Cir. 1981); Nolen v. Fitzharris, 450 F.2d 958-959
(9th Cir. 1971). Even after a complaint has been amended or
a responsive pleading has been served, the Federal Rules
provide that leave to amend should be “Freely given when
justice so requires." Fed. R. Civ. P. 15(a). See also
Morongo Band of Mission Indians v. Rose, 893 F.Zd 1074, 1079
(9th Cir. 1990).

These principles require that plaintiff's counsel should
carefully evaluate defendant's contentions as to the
deficiencies in the complaint. In many instances the moving
party should agree to any amendment that would cure the
defect.

In the unlikely event that motions under Rule 12 are
filed after the scheduling conference, the moving party shall
attach a copy of the challenged pleading to the memorandum of
points and authorities in support of the motion.

These provisions apply as well to motions to dismiss a
counterclaim, answer, or affirmative defense.

b. Motions to Amend: ln addition to the requirements
of Local Rule 15-1, all motions to amend pleadings shall: (1)
state the effect of the amendment; (2) be serially numbered

to differentiate the amendment from previous amendments; and

 

 

Case 2:07-cv-O4859-VBF-VBK Document 6 Filed 07/30/07 Page 10 of 17 Page |D #:10

U'lr|>-

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

(3) state the page and line number(s) and wording of eng
wl
proposed change or addition of material. §

The parties shall deliver to Chambers a “redlined“;§
version of the proposed amended pleading indicating all
additions and deletions of material.

c. Motions for Summarv,Judqment: Parties should not
wait until the motion cut-off to bring motions for summary
judgment or partial summary judgment. The Court expects that
the moving party will provide substantially more than the
required 21 days written notice. Because summary judgment
motions are fact-dependent, parties should prepare papers in
a fashion that will assist the Court (e.g., generous use of
tabs, tables of contents, headings, indices, etc.). The
parties are to comply precisely with Local Rule 56-1 through
56-4. For more detailed orders and instructions pertaining
to motions for summary judgment and oppositions thereto, see
Judge Fairbank's "Scheduling and Case Management Order."

10. Proposed Orders
Each party filing or opposing a motion or seeking the
determination of any matter shall serve and lodge a Proposed
Order setting forth the relief or action sought and a brief
statement of the rationale for the decision with appropriate
citations. If the Proposed order exceeds two pages, the
proposing party shall also submit the document on a diskette
in Word or Wordperfect format (compatible with 9.0 or
higher).

//
//

10

 

Case 2:T`1>7-cv-O4859-VBF-VBK Document 6 Filed 07/30/07 Page 11 of 17 Page |D #:11

carneme

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

11. Telephonic Hearings ¢n
in

The Court believes it is productive for counsel to§appear
m
personally at motions, scheduling conferences, etc. k

Therefore, it is unlikely that the Court would agree to
conduct such matters by telephone in the absence of an
emergency, illness or other urgent circumstance preventing
counsel from appearing in person. The attorney requesting
the telephonic hearing must contact all parties involved and
the courtroom deputy clerk at the earliest possible time
before the date scheduled for the motion or conference to
seek the Court's permission to appear by telephone and to
make the necessary arrangements. The Court may choose
instead to continue the hearing.

12. Ex Parte Applications

Ex parte applications are solely for extraordinary relief
and are rarely justified. See Mission Power Engineering Co.
v. continental Casualty co., 883 F. supp. 488 (C D. Cal.
1995). Applications must be filed in the Clerk's office.
Applications that fail to conform to Local Rules 7-19 and
7-19.1, including a statement of opposing counsel's position,
will not be considered. In addition to the requirements of
Local Rules 7~19 and 7-19.1, the moving party shall serve the
opposing party by facsimile transmission or personal service
and shall notify the opposition that opposing papers must be
filed no later than twenty-four hours (or one court day)
following such facsimile or personal service. If opposing
counsel does not intend to oppose the ex parte application,

counsel must advise the courtroom clerk by telephone. h

11

 

Case2:

O'NU'll-P~UJ[\J

\.DCO`I

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

D7-CV-O4859-VBF-VBK Document 6 Filed 07/30/07 Page 12 of 17 Page |D #:12

conformed courtesy copy of movingl oppositionl or notice of
)n
non~ooposition papers are to be immediately hand-delivered to

the courtesy box outside the entrance to Judqe Fairbanki%
Chambers which is located at the end of the hallway to the
right of the courtroom. The Court considers ex parte
applications on the papers and usually does not set these
matters for hearing. The courtroom deputy clerk will notify
counsel of the Court's ruling or a hearing date and time, if
the Court determines a hearing is necessary.

13. Applications or Stipulations to Extend the Time to

File Any Reguired Document or to Continue Anv Date

No stipulation extending time to file any required
document or to continue any date is effective until and
unless the Court approves it. Both applications and
stipulations must set forth: v

a. The existing due date or hearing datel the discovery
cut~off date, the last day for hearing motions, the pretrial
conference date and trial date;

b. Specific reasons (contained in a detailed
declaration) supporting good cause for granting the extension
or continuance; and

c. Whether there have been prior requests for
extensions, and whether these requests were granted or denied
by the Court.

The request shall be made before the date to be
continued.

//
//

12

 

 

Case 2:W7tv-O4859-VBF-VBK Document 6 Filed 07/30/07 Page 13 of 17 Page |D #:13

kO{IJ--JO\U'|+§L)JNI-\

c-»s-l+-\\-\l-\v-\»-»
G\U'\IPU-\MHC)

17
18
19
20
21
22
23
24
25
26
27
28

 

 

14. TROs and Injunctions ry
di

Parties seeking emergency or provisional relief sh§ll

n
,comply with Rule 65 of the Fed. R. Civ. P. and Local Ruie 65.

The Court generally will not rule on any application for such
relief for at least twenty-four hours after the party subject
to the requested order has been served; such party may file
opposing or responding papers in the interim. The parties
shall deposit conformed courtesy copies of all papers
relating to TROs and injunctions in the drop box tray in the
entrance way to the Chambers of Judge Fairbank.

15. Cases Removed From State Court
All documents filed in state court, including documents
appended to the complaint, answers and motions, must be
refiled in this Court as a supplement to the notice of
removal, if not already included. See 28 U.S.C. § 1447(a)
and (b). If the defendant has not yet answered or moved, the
answer or responsive pleading filed in this Court must comply
with the Federal Rules of Civil Procedure and the Local Rules
of the Central District. If, before the case was removed, a
motion was pending in state court, it must be re-noticed in
accordance with Local Rule 7.

If an action removed to this Court contains a “form
pleading", i.e. a pleading in which boxes are checked, the
party or parties that filed the form pleading must file an
appropriate pleading with this Court within 30 days of
receipt of the notice of removal. This pleading must comply

with the requirements of Rules 7, 7.1, 8, 9, 10, and 11.
//

13

 

Case2:

U'll-l>

CD'-.JC\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

D7-CV-O4859-VBF-VBK Document 6 Filed 07/30/07 Page 14 of 17 Page |D #:14

16. Status of Fictitiouslv Named Defendants

f ,'1
in
This Court adheres to the following procedures whenja

matter is removed to this Court on diversity grounds with
fictitiously named defendants referred to in the complaint.
See 28 U.S.C. §§ 1441(<'.-1) and 1447.

a. Plaintiff shall ascertain the identity of and serve
any fictitiously named defendants before the date of the Rule
16(b) scheduling conference. The Court generally will
dismiss Doe defendants on the date of the scheduling
conference, as they prevent the Court from accurately
tracking its cases.

b. If plaintiff believes {by reason of the necessity
for discovery or otherwise) that fictitiously named
defendants cannot be fully identified within that period, a
request to extend the time should be made at the scheduling
conference. If plaintiff believes (by reason of the
necessity for discovery or otherwise) that fictitiously named
defendants cannot be fully identified within the 120 day
period, an ex parte application requesting permission to
extend the period to effectuate service may be filed with the
Court. Such application shall state the reasons therefore,
and may be granted upon a showing of good cause. The ex
parte application shall be served upon all appearing parties,
and shall state that appearing parties may respond within
seven calendar days of the filing of the ex parte
application. Counsel should be prepared to state the reasons
why fictitiously named defendants have not been identified

and served.

14

 

Case2

O\OCD--JU\U'|H=-LAJNI-"

|_\

12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
2'7

28

_¢_

 

37-cv-O4859-VBF-VBK Document 6 Filed 07/30/07 Page 15 of 17 Page |D #:15

\

c. If a plaintiff wants to substitute a named defepdant
for one of the fictitiously named defendants, plaintiff§§hall
seek the consent of counsel for all defendants (and coun§el
for the fictitiously named party, if that party has separate
named counsel). If consent is withheld or denied, plaintiff
may apply ex parte to file an amended complaint (a separate
"amendment to complaint" is not permitted), with notice to
all appearing parties. Each party shall have seven calendar
days to respond. The ex parte application and any response
should comment on whether the matter should thereafter be
remanded to the superior court if diversity of citizenship is
destroyed by the addition of the newly substituted party.

See 28 U.S.C. § 1447(c) and (e).

17. ERISA Cases Concerning Benefit Claims

The Court will hear motions to determine the standard of
review and the scope of the administrative record. There
will be a court trial (usually confined to oral argument) on
the administrative record. Counsel filing motions for
summary judgment or partial summary judgment on any other
issue must distinguish Kearney v. Standard Insurance Co., 175
F.3d 1084 (9th Cir. 1999) in the moving papers and explain
why summary judgment is not precluded.

18. Bankruptcv Appeals

COuIlSel Shall COmply with the NOTICE REGARDING APPEAL
FROM BANKRUPTCY COURT issued at the time the appeal is filed
in the District Court. The Court will determine whether oral

argument will be held.

//

15

 

Case 2'97-cv-O4859-VBF-VBK Document 6 Filed 07/30/07 Page 16 of 17 Page |D #:16

O`lU'er~L\Jl\)l'-‘

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

19. Communications with Chambers iq

Counsel shall not attempt to contact the Court or 5§5
Chambers staff by telephone or by any other ex parte meahs.
Counsel may contact the courtroom deputy clerk with
appropriate inquiries. To facilitate communication with the
courtroom deputy clerk, counsel should list their e-mail
addresses and their facsimile transmission numbers along with
their telephone numbers on all papers.

20. Courtesy Copies

A conformed courtesy copy (clearly marked "courtesy
copy“) of all documents filed or lodged with the Court shall
be delivered to the courtesy box outside the entrance to
Judge Fairbank's Chambers which is located at the end of the
hallway, to the right of the courtroom.. For security
reasons, documents should be removed from envelopes.

21. Compliance with Local Rules and Standinq Orders

At all stages of the proceedings, the parties and counsel
are expected to comply with the Local Rules and this Court‘s
standing orders. Before the scheduling conference counsel
shall review the Central District's Civility and
Professionalism Guidelines (which can be found on the Court's
website under "Attorney Information > Attorney Admissions"),
which shall be the standard of conduct to which they will be
expected to adhere.

22. Notice of this Order

Counsel for the plaintiff shall immediately serve this

Order on all parties. including any new parties to the

16

 

 

 

Case 2:07-cv-O4859-VBF-VBK Document 6 Filed 07/30/07 Page 17 of 17 Page |D #:17

_‘)
\

U'|:-|d-

\DCU--JO\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

action. If this case came to Court by noticed removal,f»)

defendant shall serve this Order on all other parties.

r"‘"
.\`!'

.\_
DATED: July“ao, 2007

l
f\.
;3

sedan/saws

ll_|
;.sl
~"|'
!,_11

'.)`w

 

VALERIE BAKER FAIRBANK

UNITED STATES DISTRICT JUDGE

17

 

